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                                                          HONORABLE RICHARD A. JONES
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE

 8
       UNITED STATES OF AMERICA,                        No. CR 20-167-RAJ
 9
                                        Plaintiff,      ORDER GRANTING MOTION
10                                                      TO SEAL SUPPLEMENTAL
       v.                                               RESPONSE BRIEF
11
       GYEONG JEI LEE,
12
                                       Defendant.
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            THIS MATTER has come before the undersigned on the motion to defendant,
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     GYEONG JEI LEE, for an order that his Supplemental Response to the United States’
15   Motion for Competency Examination and Hearing be filed under seal and secured from

16   public access until further order by the Court. Finding good cause,
            IT IS HEREBY ORDERED that Defendant’s Motion to Seal (Dkt. #29) is
17
     GRANTED.
18          DATED this 20th day of October, 2020.

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                                                           A
                                                           The Honorable Richard A. Jones
                                                           United States District Judge
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     ORDER GRANTING MOTION TO SEAL - 1
